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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF MARYLAND



UNITED STATES OF AMERICA,

V.                                              CASE NO. LO:19cr0449


                                                    UNDER SEAL
KENNETH RAVENELL. et al


              Defendants



                                            ORDER


              The Court has received a letter from Robert Trout, Counsel for Joshua Treem,which

has been filed with the Court as Dkt 394.


              It is hereby ORDERED that the government file a response to Mr. Trout's letter by

12 noon on Wednesday, November 10, 2021.




                                            Liam O'GrS
                                            United State^istrict Judge


November 5, 2021
